18-22932-rdd         Doc 85-1        Filed 09/28/18 Entered 09/28/18 10:47:06             Exhibit   Pg
                                                  1 of 8


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re                                                            :
                                                                  :   Chapter 11
 EMC HOTELS AND RESORTS, LLC,                                     :
                                                                  :   Case No. 18-22932 (RDD)
                                              Debtor.             :
 -----------------------------------------------------------------x

         STIPULATION REGARDING CONTINUED USE AND OPERATION OF
                    FOOD SERVICES AT DEBTOR’S HOTEL

        This is a stipulation (the “Stipulation”) between Fred Stevens (the “Trustee”) as Chapter

11 Trustee of EMC Hotels and Resorts, LLC, the above-captioned debtor (the “Debtor”) and BV

Grill Nyack, LLC (“BV Grill,” and collectively with the Trustee, the “Parties,” each a “Party”).

In consideration of the respective promises, representations, warranties, and acknowledgments set

forth below, the Parties agree as follows:

                                                  RECITALS

        WHEREAS, on or around December 22, 2015, the Debtor and BV Grill purportedly

entered into a lease agreement (the “Lease”) pursuant to which, among other things, BV Grill

leased from the Debtor the restaurants and bars at the Debtor’s hotel at 400 High Avenue, Nyack,

NY 10960 (the “Hotel”) to, essentially, operate the restaurant and produce and sell all food and

beverage services throughout the Hotel; and

        WHEREAS, On June 18, 2018 (the “Petition Date”), Evolve Controls, CJB Asset

Management Group LLC, and Consolidated Companies Inc. d/b/a Best Landscape (collectively,

the “Petitioning Creditors”) filed an involuntary petition for relief under chapter 7 of Title 11 of

the United States Code (the “Bankruptcy Code”) against the Debtor in the United States

Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”); and
18-22932-rdd       Doc 85-1       Filed 09/28/18 Entered 09/28/18 10:47:06             Exhibit    Pg
                                               2 of 8


       WHEREAS, by orders dated July 20, 2018, the Bankruptcy Court: (i) converted the

Debtor’s case from an involuntary chapter 7 case to a voluntary chapter 11 case upon the Debtor’s

motion [Docket No. 31]; and (ii) directed the United States Trustee to appoint a chapter 11 trustee

upon the Petitioning Creditors’ motion [Docket No. 30]; and

       WHEREAS, on July 25, 2018, the United States Trustee appointed the Trustee [Docket

No. 32], and the Court entered an order approving the Trustee’s appointment [Docket No. 34]; and

       WHEREAS, the Parties have identified a number of potential issues between them

including, but not necessarily limited to: (i) whether BV Grill is not separately owned but a

subsidiary of the Debtor; (ii) the validity and enforceability of the Lease; (iii) Trustee’s right to

assume or reject the Lease even if valid; (iv) the flow of funds between the Debtor and BV Grill

by prior management and whether BV Grill owes money to the Debtor or the Debtor owes money

to BV Grill; (v) the sharing of expenses between the Debtor and BV Grill and whether either party

owes the other money based upon expenses paid by one for the benefit of the other; and (vi)

whether BV Grill was provided everything it was supposed to be provided under the Lease if valid

(the “Outstanding Issues”); and

       WHEREAS, the Parties wish to resolve solely the issue of BV Grill’s ongoing use of the

Debtor’s premises and facilities pursuant to the Lease notwithstanding the Outstanding Issues and

questions raised regarding the validity and enforceability of the Lease, without resolving and while

fully reserving all rights with respect to the Outstanding Issues except as set forth herein, according

to the terms set forth herein;




                                                  2
18-22932-rdd       Doc 85-1      Filed 09/28/18 Entered 09/28/18 10:47:06          Exhibit    Pg
                                              3 of 8


                                          AGREEMENT

       NOW THEREFORE, relying specifically on the foregoing recitals and in consideration

of the mutual promises and covenants contained herein, the Parties hereby stipulate and agree as

follows:

     1.        Recitals Incorporated. The recitals and precatory phrases and paragraphs set forth

above are hereby incorporated in full and made a part of this Stipulation.

     2.        Approval of Stipulation.     The effectiveness of this Stipulation is expressly

conditioned upon the Bankruptcy Court’s entry of an Order approving this Stipulation (an

“Approval Order”). Notwithstanding the requirement of an Approval Order, the Parties shall

perform under this Stipulation upon execution of same prior to the entry of the Approval Order

with an understanding that any transactions may be subject to reversal in the event that the

Bankruptcy Court declines to enter an Approval Order.

     3.        Amounts Due From Debtor to BV Grill For Food and Beverage Related Room

Charges and Breakfast. The Debtor is liable to BV Grill for (i) food and beverages furnished by

BV Grill to guests of the Hotel that are charged to the guest’ rooms, less all credit card and

administrative fees, discounts, chargebacks and other bad debt (“Food and Beverage Room

Charges”); (ii) Hotel guest breakfast service at the current rate per booked guest room (“Breakfast

Services”); and (iii) voucher reimbursement for vouchers given by the Debtor to guests or others

for food and beverages from BV Grill (the “Vouchers”) (Food and Beverage Room Charges,

Breakfast Services and Vouchers are collectively, the “BV Charges”), that are incurred on and

after July 20, 2018. This is without prejudice to BV Grill’s right to assert that the Debtor owes

BV Charges incurred prior to July 20, 2018, which is one of the Outstanding Issues not resolved

by this Stipulation as set forth above.



                                                 3
    18-22932-rdd     Doc 85-1       Filed 09/28/18 Entered 09/28/18 10:47:06                   Exhibit     Pg
                                                 4 of 8


       4.        Rent and Other Charges Due to Trustee. BV Grill is liable to the Debtor for

monthly rent accruing on and after July 20, 2018 at the monthly rate of $30,000. BV Grill shall

also be liable for $5,000 per month on account of utilities apportioned to BV Grill. The $35,000

due from BV Grill each month is referred to as the “Monthly Rent Charges.” The Monthly Rent

Charges shall be prorated for the month of July and any other partial month to the extent that this

Stipulation is terminated in the middle of any month. This is without prejudice to the Trustee’s

right to assert that BV Grill owes rent incurred prior to July 20, 2018, which is one of the

Outstanding Issues not resolved by this Stipulation as set forth above.

       5.        Monthly True-Up. Within five (5) business days following the end of any month

or earlier termination date, BV Grill will send written statements of the BV Charges to the Trustee.

Assuming no timely Dispute (as defined below) is made to the BV Charges, the BV Charges shall

be set off against the Monthly Rent Charges (the “Monthly Setoff”). In the event that the BV

Charges exceed the Monthly Rent Charges amount, the Trustee shall promptly pay the difference

to BV Grill following the Monthly Setoff. In the event that the BV Charges are less than the

Monthly Rent Charges amount (i.e., less than $35,000 or any prorated amount), BV Grill shall

promptly pay the difference to the Trustee after the Monthly Setoff. Prior to the Monthly Setoff,

the Trustee may pay BV Charges in the event that the BV Charges exceed the Monthly Rent

Charges. Any obligation by either party to make a payment in addition to the Monthly Setoff shall

be referred to as a “True-Up Payment”). By way of example, the BV Charges for the prorated

month of July 2018 are $21,519.28.1 This amount is more than the Monthly Rent Charges of

$12,419.35 (the $35,000 Monthly Rent Charges pro-rated to the 11 days in July that fall under this

Stipulation). Accordingly, upon execution of this Stipulation by the Parties, the Trustee shall


1
  The BV Charges did not adjust downward for credit card processing fees or chargebacks, and have not adjusted
upward for any Vouchers. The Parties will endeavor to reconcile these adjustments in a future True-Up.

                                                       4
 18-22932-rdd       Doc 85-1      Filed 09/28/18 Entered 09/28/18 10:47:06               Exhibit     Pg
                                               5 of 8


promptly pay to BV Grill $7,599.93, the difference of $9,099.93 less $1,500.00 paid directly to

D.J. Bakery Products, Inc. for pastries delivered to BV Grill. Once the BV Charges exceed the

Monthly Rent Amount for August 2018, or any future monthly period, the Trustee shall endeavor

to promptly pay the BV Charges to BV Grill.

      6.        Term of Stipulation. Provided an Approval Order is entered, this Stipulation shall

be effective from July 20, 2018, to the earlier of (i) January 31, 2019, (ii) the sale of the Hotel, (iii)

either party’s failure to make a True-Up Payment within ten (10) business days of the end of any

monthly period, which is the last day in any month or the day in which this Stipulation is terminated

under its terms (the “Month End”), (iv) a plan is confirmed in the case, (v) the Trustee is no longer

the trustee, or (vi) the Lease is deemed invalid or is rejected by Order of this Court. Either Party

may, but is not required to, waive any default under this Stipulation.

      7.        Insurance and Reporting. During the term of this Stipulation, the Parties will

continue to perform under the Lease except as specifically modified herein, including the

obligation of BV Grill to maintain insurance and require its subcontractors to maintain insurance

and to allow the Debtor and its operator to monitor the finances and obligations of BV Grill. BV

Grill shall promptly provide to the Trustee proof of insurance. BV Grill, Debtor’s manager and

the Trustee and his professionals will mutually cooperate in order to ensure compliance with the

terms of this stipulation, including without limitation BV Grill’s providing access to its books and

records.

      8.        BV Grill Cash Management Systems. BV Grill agrees that during the term of this

Stipulation: (i) it will require with its financial institutions that any expenditures to any individual

or entity of greater than $5,000 in any given month will require the express signature and approval

of Joseph Smith and either Howard Dean or Kerry Wellington; and (ii) BV Grill will not make any



                                                    5
18-22932-rdd       Doc 85-1      Filed 09/28/18 Entered 09/28/18 10:47:06             Exhibit    Pg
                                              6 of 8


distributions of money or property to its members.

     9.        No Access to Rooftop. During the term of this Stipulation, neither BV Grill nor

any of its members, employees or representatives shall have access to the Rooftop of the Hotel

without the express permission of the Trustee.

    10.        No Right to Seek Additional Rent Under the Lease for the Term of the Stipulation.

Without waiver of any claim that the Lease is invalid, the rent required to be paid under the Lease

shall be deemed modified as set forth herein for the term of this Stipulation.

    11.        Preservation of All Outstanding Issues. All Outstanding Issues are strictly reserved

and the Parties expressly reserve the right to pursue any Outstanding Issues by demand or in any

forum of competent jurisdiction notwithstanding performance under the terms of this Stipulation.

    12.        Dispute to BV Charges or True-Up Payments. If either party wishes to dispute any

BV Charges or True-Up Payments (a “Dispute”), it must communicate such Dispute in writing by

e-mail to the undersigned counsel of record for the other party within ten (10) business days after

the relevant Month End or the receipt of the statement of BV Charges for the applicable month

from BV Grill (a “Dispute Notice”). If a timely Dispute Notice is not sent, the BV Charges or

True-Up Payment as the case may be will be deemed valid. Upon receipt of any Dispute Notice,

both parties will endeavor in good faith to resolve the Dispute. If a Dispute cannot be resolved,

either Party may submit it to the Bankruptcy Court for determination.

    13.        Choice of Law and Jurisdiction. This Stipulation shall be construed, and the rights

and liabilities of the Parties hereto shall be determined, in accordance with the laws of the State of

New York and applicable Federal law. The Parties hereby consent to the resolution of any and all

disputes arising under, in connection with or relating to this Stipulation, and any claims or actions

based upon this Stipulation, by and under the exclusive jurisdiction of the Bankruptcy Court.



                                                  6
18-22932-rdd       Doc 85-1       Filed 09/28/18 Entered 09/28/18 10:47:06             Exhibit    Pg
                                               7 of 8


    14.        No Waiver. No failure or delay by either Party in exercising any right, power, or

privilege under this Stipulation or applicable law shall operate as a waiver by that Party of any

such right, power or privilege.

    15.        Severability. The invalidity, illegality, or unenforceability of any provision of this

Stipulation shall not affect any other provision of this Stipulation, which Stipulation shall remain

in full force and effect and shall be construed as if such invalid, illegal, or unenforceable provision

had never been contained herein.

    16.        Representations of Authority. The persons signing below each represents and

warrants that he/she has the authority to enter into this Stipulation on behalf of the Party on whose

behalf he/she so signs.

    17.        Counterparts. This Stipulation may be executed in duplicate original counterparts,

each of which shall constitute an original and all of which shall constitute a single memorandum.

Execution by a Party of a signature page hereto shall constitute due execution and shall create a

valid, binding obligation of the Party so signing, and it shall not be necessary or required that the

signatures of all Parties appear on a single signature page hereto. It shall not be necessary, in

making proof of the Stipulation, to produce or account for more than one (1) counterpart.

    18.        Signatures By Fax or Scan.        A facsimile or scan (by PDF or other format)

evidencing signature on this Stipulation shall be deemed to be an original signature for all

purposes. In the event that suit or a proceeding is brought to enforce the terms of this Stipulation,

the plaintiff or movant shall not be required to produce or introduce into evidence a copy of this

Stipulation bearing original signatures of the Parties, other than signatures by facsimile or scan as

permitted hereunder.




                                                  7
18-22932-rdd        Doc 85-1     Filed 09/28/18 Entered 09/28/18 10:47:06               Exhibit     Pg
                                              8 of 8




the plaintiff or movant shall not be required to produce or introduce into evidence a copy of this

Stipulation bearing original signatures of the Parties, other than signatures by facsimile or scan as

permitted hereunder.

          IN WITNESS WHEREOF, the Parties have caused this Stipulation to be executed by

their duly authorized representatives as of the date set forth below.


 Dated: New York, New York                             Dated:     ew York, ew York
        August 20, 2018                                          August 20, 2018

                                                                KLESTADT WINTERS JURELLER
                                                                SOUTHARD & STEVE S, LLP


    By:    -------------                                By:   ---------------
            Fred Stevens, as Chapter 11 Trustee                 Tracy L. Klestadt
                                                                200 West 41�1 Street, 17th Floor
                                                                New York, New York 10036-7203
                                                                Tel: (212) 972-3000
                                                                Fax: (212) 972-2245
                                                                Email: tklestadt@klestadt.com

                                                                Counsel to the Chapter 11 Trustee



 Dated: Nyack, ew York                                 Dated: New York, New York
        August 18, 2018                                       August 18, 2018

            BY GRILL NYACK, LLC                                 McGUIRE WOODS LLP


    By:    -------------                                 By     �g,�
                                                                Shawn R. Fox
            Name:     Kerry Wellington
                    ---"-----"'-----                            1251 Avenue of the Americas
                                                                20th Floor
            Title: -------
                     Owner --                                   New York, New York 10020-1104
                                                                Tel: (212) 548-2165
                                                                Fax: (212) 548-2150
                                                                Email: sfox@mcguirewoods.com

                                                                Counsel to B V Grill Nyack, LLC

                                                  8
